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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION


BRENDA LYNN GEIGER; CLAUDIA
SAMPEDRO; JESSICA BURCIAGA;
IESHA MARIE CRESPO; JESSICA
ROCKWELL; and LUCY PINDER,

PLAINTIFFS                                                         Case No. 6:21-CV-00145-ADA-DTG

v.

RP ENTERTAINMENT, LLC d/b/a CLUB
TABU a/k/a TABU NIGHTCLUB a/k/a
TABU; and KILLEEN 2007 LLC d/b/a
MANGOS;

DEFENDANTS



                                JOINT STATUS REPORT AND
                       MOTION FOR ENTRY OF NEW SCHEDULING ORDER


          1.        On, May 6, 2021, this Court entered the Parties’ Agreed Scheduling Order (ECF

No. 14). Subsequently, the parties engaged in written discovery, engaged in document production,

and have worked together collegially. On January 28, 2022, the Court entered an Order on All

Parties’ Stipulation and Joint Motion for Extension and to Amend Scheduling Order (ECF No. 18)

after which depositions were taken. Additionally, the parties had settlement discussions (see ECF

No. 21).

          2.        On June 17, 2022, this Court entered an Order Staying Case (ECF No. 29),

extending a previously granted stay to July 19, 2022.

          3.        The parties report that they have not reached a final agreement resolving this matter.




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          4.        As such, pursuant to the Order Staying Case (ECF No. 29), the parties submit a

joint proposed scheduling order (which the parties have limited to pretrial deadlines that remained

at the time the case was stayed) being filed contemporaneously with this report and motion.

                                                            PRAYER

          All Parties pray that this Court grant their Joint Motion for Entry of New Scheduling Order

and for all other relief to which they may be entitled.

                                                              THE CASAS LAW FIRM, P.C.

                                                              By: /s/Dennis C. Postiglione
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                                                              -and-

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                                       CERTIFICATE OF CONFERENCE

          I hereby certify that on this 18th day of July 2022, I conferred by email with counsel for
 Plaintiffs, Dennis C. Postiglione, and he and I came to an agreement on the new deadlines and
 agreed that the above motion would be filed under electronic signatures as agreed to by all
 Parties.

                                                                   /s/ Marcus Mataga
                                                                   MARCUS MATAGA



                                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on all
counsel of record listed below via the ECF system on July 18, 2022.
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                                                                   /s/ Marcus Mataga
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